   Case 1:99-cr-00131-RJA-LGF Document 1138 Filed 07/20/05 Page 1 of 3




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

            v.                                        99-CR-131-A(1)

MOHAMED KAID,

                   Defendant.



           REVISED STATEMENT OF THE GOVERNMENT WITH RESPECT
                         TO SENTENCING FACTORS



     PLEASE TAKE NOTICE, that the government hereby adopts all

findings of the Pre-sentence Report with respect to sentencing

factors in this action except the Probation Officer's conclusion

that the "defendant employed an individual under 18 to act as a

driver."    (Presentence Report at ¶ 33, page 12).           This is based on

a review of the driver's date of birth as she provided it to the

grand jury, which indicates she was over the age of 18 when she

first began driving for the defendant.



     Should      the   defendant   present   any   letters    of   support   or

sentencing statement to the Court, the United States will move to

strike the items from the record if this office is not provided

with copies at least three business days prior to sentencing.
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        The defendant is required by 18 U.S.C. § 3013 to pay the sum

of $100 at the time of sentencing.



       Restitution    in   the   amount   of   $14,913,701.50   is   owed   as

follows:     $8,538,379 to the Michigan Department of Treasury and

$6,375,322.50 to New York State (Rose Montante; Petroleum, Alcohol

& Tobacco Enforcement) and may be ordered by the Court.



       DATED:      Buffalo, New York, July 20, 2005.

                                            Respectfully submitted,


                                            KATHLEEN M. MEHLTRETTER
                                            Acting United States Attorney




                                    BY:     s/ANTHONY M. BRUCE
                                            Assistant U.S. Attorney
                                            Western District of New York
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                                            Buffalo, New York   14202
                                            (716) 843-5700, ext. 886
                                            Anthony.M.Bruce@usdoj.gov




TO:    Nelson Torre, Esq.

       United States Probation Department
       Attn: Michael J. Quarantillo
              U.S. Probation Officer




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UNITED STATES OF AMERICA,
                                   :
                                   :
           -v-

MOHAMED KAID,
                                        :
                   Defendant                   99-CR-131-A(1)
                                        :



                        CERTIFICATE OF SERVICE



     I hereby certify that on July 20, 2005, I electronically filed

the attached Revised Statement of the Government with Respect to

Sentencing Factors with the Clerk of the District Court using its

CM/ECF system, which would then electronically notify the following

CM/ECF participants on this case:


     Nelson S. Torre, Esq.
     1220 Liberty Building
     Buffalo, New York 14202

     United States Probation Department
     Attn: Michael Quarantillo
     United States Courthouse
     68 Court Street
     Buffalo, New York 14202




                                            s/LINDA F. SWIATEK
